                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            Civil Action No. 1:22-cv-979

Joyce Sutton,                                   )
                                                )
      Plaintiff,                                )
                                                )
vs.                                             )
                                                )
Healthcare Revenue Recovery Group,              )
LLC,                                            )
                                                )
      Defendant                                 )




                                     NOTICE OF DISMISSAL



PLEASE TAKE NOTICE that the Plaintiff, Joyce Sutton, hereby dismisses the above-
captioned action with prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of
Civil Procedure.



      Respectfully submitted this 17th of August, 2023.




      /s/ Koury L. Hicks
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